

People v Goldstein (2021 NY Slip Op 02311)





People v Goldstein


2021 NY Slip Op 02311


Decided on April 14, 2021


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 14, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
LEONARD B. AUSTIN
BETSY BARROS
VALERIE BRATHWAITE NELSON
LINDA CHRISTOPHER, JJ.


2019-08424
 (Ind. No. 4782/18)

[*1]The People of the State of New York, respondent,
vGary Goldstein, appellant.


Paul Skip Laisure, New York, NY (Patricia Pazner of counsel; Yasmine Bailey on the memorandum), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Diane R. Eisner of counsel; Jong Hwa Ryu on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Matthew J. D'Emic, J.), imposed July 11, 2019, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
The sentence imposed was not excessive (see  CPL 470.15[6][b]; People v Suitte , 90 AD2d 80).
DILLON, J.P., AUSTIN, BARROS, BRATHWAITE NELSON and CHRISTOPHER, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








